--------------------------------------------------------------------------------

                            TENTH COURT OF APPEALS

Chief Justice
    Tom Gray

Justice
     Rex D. Davis
     Al Scoggins

                          McLennan County Courthouse
                         501 Washington Avenue, Rm 415
                            Waco, Texas 76701-1373
            Phone: (254) 757-5200              Fax: (254) 757-2822



                    Clerk
     Sharri Roessler
                               December 21, 2016
                                       
                                       
                                       

In accordance with the enclosed Memorandum Opinion, below is the judgment in the numbered cause set out herein to be entered in the Minutes of this Court as of the 21[st] day of December, 2016.

10-15-00371-CR	ROBERT GONZALES RODRIGUEZ v. THE STATE OF TEXAS - ON APPEAL FROM THE 85[TH] DISTRICT COURT OF BRAZOS COUNTY - TRIAL COURT NO. 14-04368-CRF-85 - AFFIRMED AS MODIFIED - Memorandum Opinion by Justice Scoggins:

"This cause came on to be heard on the transcript of the record, and the same being considered, because it is the opinion of this Court that there was error in the judgment, the judgment is reformed to show that the statute corresponding with the charged offense in this case is article 62.102 of the Code of Criminal Procedure.  It is therefore ordered, adjudged and decreed by the Court that, as reformed, the judgment be in all things affirmed, that the appellant pay all costs in this behalf expended and that this decision be certified below for observance."

